
913 N.E.2d 1064 (2009)
PEOPLE State of Illinois, respondent,
v.
Larry JACKSON, petitioner.
No. 107071.
Supreme Court of Illinois.
September 30, 2009.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, Fourth District, is directed to vacate its judgment in People v. Jackson, case No. 4-06-0868 (07/31/08). The appellate court is directed to reconsider its judgment in light of People v. Lewis, 234 Ill.2d 32, 332 Ill.Dec. 334, 912 N.E.2d 1220 (2009), to determine if a different result is warranted.
